Case 2:23-cv-00586-MLG-JHR

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STATE OF NEW MEXICO

I, Merle Alexander
Legals Clerk

Of the Roswell Daily Record, a daily
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Mexico do solemnly swear that the
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for a period of:

Three times with the issue dated
December 27th, 2024

and ending with the issue dated
January 10th, 2024

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Clerk

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